
In re Foy, Clarence; — Plaintiff(s); applying for supervisory and/or remedial writ; Parish of Orleans, Criminal District Court, Div. “J”, No. 370-344.
Writ granted in part; otherwise denied. The district court is ordered to furnish rela-tors with “eop[ies] of the judgment[s] granting or denying relief’ on their applications for post-conviction relief, along with “written or transcribed reasons for the judgment(s),” as required by La.C.Cr.P. art. 930.1. State ex rel. Baker v. State, 95-2228 (La. 12/8/95), 664 So.2d 410; State ex rel. Whittaker v. Lombard, 559 So.2d 116 (La.1990). In all other respects, the applications are denied.
